FORM VAN−AD029
REVISED 12/27/2017


                                   UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF ARIZONA


In re:                                                    Case No.: 2:17−bk−10972−EPB

  LAURA LYNN IBARRA                                       Chapter: 7
Debtor(s)



   VICKIE BANKS                                           Adversary No.: 2:17−ap−00718−EPB
Plaintiff(s)

v.

  LAURA LYNN IBARRA
Defendant(s)



                                          NOTICE OF HEARING

     NOTICE IS HEREBY GIVEN that:

   A hearing in the above−entitled cause will be held at the U.S. Bankruptcy Court, 230 N. First Avenue, 7th Floor,
Courtroom 703, Phoenix, AZ before the Honorable Eddward P. Ballinger Jr. on 2/22/18 at 10:00 AM, to consider and
act upon the following matters:


RULE 16 SCHEDULING CONFERENCE


   Pursuant to Local Bankruptcy Rule 9013(1)(c), if this hearing is on a motion, the party responding to the motion
shall have 14 days after service within which to serve and file a responsive memorandum, and the moving party shall
have 14 days after service of the responsive memorandum to serve and file a reply.




Date: January 18, 2018

Address of the Bankruptcy Clerk's Office:                 Clerk of the Bankruptcy Court:
U.S. Bankruptcy Court, Arizona
230 North First Avenue, Suite 101                         George Prentice
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000
www.azb.uscourts.gov




         Case 2:17-ap-00718-EPB Doc 8 Filed 01/18/18 Entered 01/18/18 07:21:18                          Desc
                             Adversary Notice of Hearing Page 1 of 1
